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                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                                  ALEXANDRIA DIVISION


 JOE W. AGUILLARD                                CIVIL ACTION NO. 1:17-CV-01671

 VERSUS                                          JUDGE TERRY A. DOUGHTY

 LOUISIANA COLLEGE                               MAG. JUDGE MARK L. HORNSBY


                                          JUDGMENT

       For the reasons set forth in this Court’s Ruling,

       IT IS ORDERED, ADJUDGED, AND DECREED that Defendant Louisiana College’s

 Motion for Partial Summary Judgment [Doc. No. 103] is GRANTED. Aguillard’s intentional

 infliction of emotional distress claim against LC is DISMISSED WITH PREJUDICE.

       MONROE, LOUISIANA, this 27th day of September, 2019.



                                                     __________________________________
                                                      TERRY A. DOUGHTY
                                                      UNITED STATES DISTRICT JUDGE
